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    IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                           COLUMBIA


                                   )
United States                      )
                                   )
                v.                 )             No. 23mj55
                                   )
Larry Giberson,                    )
                                   )
                                   )
       Defendant.                  )

                          APPEARANCE OF COUNSEL

     Charles Burnham, Esq., hereby enters his appearance on behalf of defendant Larry

Giberson.



                                                 Respectfully Submitted,

                                                 By:



                                                 /s/ Charles Burnham
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                             CERTIFICATE OF SERVICE

       I hereby certify that a copy of this pleading was filed on opposing counsel through

the Court’s electronic filing system.

By: /s/ Charles Burnham
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